     Case 1:12-cr-00341-LJO-SKO Document 124 Filed 02/07/14 Page 1 of 2



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Fresno, CA 93721-2226
     Telephone: 559-487-5561/Fax: 559-487-5950
5
     Attorney for Defendant
6    Say Taylor

7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                 )   Case No. 1:12-cr-00341 LJO-SKO-1
                                                )
12                        Plaintiff,            )   EX PARTE APPLICATION FOR RETURN OF
                                                )   PASSPORT; ORDER
13    vs.                                       )
                                                )
14    SAY TAYLOR,                               )   JUDGE: Hon. Lawrence J. O’Neill
                                                )
15                       Defendant.             )
                                                )
16                                              )

17          On October 1, 2012, Defendant, Say Taylor, appeared before the Honorable Gary S.

18   Austin and was ordered released from custody under the supervision of Pretrial Services.

19   Among other conditions, Mr. Taylor was ordered to surrender his passport. (Dkt. # 28). On

20   October 5, 2012, Mr. Taylor’s passport (US Passport #215960963) was surrendered to the court.

21   (Dkt. #37)

22          On February 3, 2014, Mr. Taylor appeared before the Honorable Lawrence J. O’Neill and

23   was sentenced to 60 months of probation. As Mr. Taylor has met all the requirements of pretrial

24   release and is now on formal probation, defense requests that his passport be returned to him.

25   //

26   //

27   //

28   //
     Case 1:12-cr-00341-LJO-SKO Document 124 Filed 02/07/14 Page 2 of 2


1                                                            Respectfully submitted,
2                                                            HEATHER E. WILLIAMS
                                                             Federal Defender
3
     DATED: February 3, 2014                          By:    /s/ Charles J. Lee_____________
4                                                            CHARLES J. LEE
                                                             Assistant Federal Defender
5                                                            Attorney for Defendant
                                                             SAY TAYLOR
6
7
8
9
10                                                    ORDER
11
               Voicing no objection by either Probation or the U.S. Attorney, Defendant Say Taylor’s
12
     US Passport #215960963 shall be returned to the defendant forthwith.
13
14
     IT IS SO ORDERED.
15
         Dated:         February 6, 2014                       /s/ Lawrence J. O’Neill
16                                                          UNITED STATES DISTRICT JUDGE
17
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28

      Ex Parte Application for Release of Passport;    -2-
      [Proposed] Order
